      Case 2:18-cv-01844-GW-KS Document 180 Filed 05/07/19 Page 1 of 1 Page ID #:8618




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER:
BlackBerry Limited,
                                                                            CV 18-1844-GW-KS
                                              Plaintiff(s)
                               v.

Facebook, Inc. et. al.,
                                                              MOTION RE: INFORMAL DISCOVERY DISPUTE
                                            Defendant(s)



The parties have requested an informal discovery conference with Magistrate Judge KAREN L. STEVENSON
Counsel for each party has submitted their respective positions and the issue will be adjudicated in accordance
with the Magistrate Judge's procedures.




 Dated:               May 7, 2019                                   By:            G. Roberson
                                                                                   Deputy Clerk




CV-19 (07/18)                       MOTION RE: INFORMAL DISCOVERY DISPUTE                              Page 1 of 1
